Case 2:04-cV-02466-SHI\/|-tmp Document 28 Filed 08/18/05 Page 1 of 3 Page|D 40

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FREI) BAKER AND soNs ELECTRIC, INC. ) mfg C 1 withsng
Plaintiff, §
v. § No. 04-2466 MaP
AMSOUTH BANK, §
Defendant. §

 

CONSENT ORDER TO SUSPEND PROCEEDINGS PENDING ARBITRATION

 

This cause came before the Court on Defendant’s Motion to Compe] Arbitration and the
Plaintii"f’s consent to that Motion and to submit to arbitration in this matter; the Court therefore
grants the Motion and orders the parties to arbitrate the matter and will suspend further
proceedings in this matter, pending notification from the parties as to the outcome of the

arbitration proceeding

SO ORDERED, ADJUDGED AND DECREED this lsd day of A }Ul_ ,

2005. WMM_WM

JUDGE SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Date:

 

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Case 2:04-cv-O2466-SH|\/|-tmp Document 28 Filed 08/18/05 Page 2 of 3 Page|D 41

APPROVED:

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John M. Bran€@n (#10913)
Ben J. Scott (#023879)
Attorneys for Det`endant AmSouth Bank

w W/,/Q""‘~¢`SF¢`¢A BJ§#OQSW?

l inVStrickland
Attorney for Plaintiff

CERTIFICATE OF SERVICE

This is to certify that l, attorney for the Defendant, have this day served, via United States
mail, postage prepaid, a true and correct copy of the above and foregoing instrument to the
following:

Janies S. Strickland, Jr., Esq.
KUSTOFF & STRICKLAND

44 North Second Street, Suite 502
Meniphis, TN 38103

CERTIFIED,rhiS:h@ [; dayof /&u$r ,2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02466 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Jimmy Moore

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Honorable Samuel Mays
US DISTRICT COURT

